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                           UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION

TIM FOOTE,

                      Plaintiff,

v.                                                         Case No: 6:18-cv-73-Orl-40TBS

TRANS UNION LLC and
CONTINENTAL SERVICE GROUP,

                      Defendants.


                                    RELATED CASE ORDER
                                   AND TRACK TWO NOTICE
       It is hereby ORDERED that, no later than fourteen days from the date of this Order,

counsel and any pro se party shall comply with Local Rule 1.04(d), and shall file and serve a

certification as to whether the instant action should be designated as a similar or successive case

pursuant to Local Rule 1.04(a) or (b). The parties shall utilize the attached form NOTICE OF

PENDENCY OF OTHER ACTIONS. It is

       FURTHER ORDERED that, in accordance with Local Rule 3.05, this action is designated

a Track Two case. All parties must comply with the requirements established in Local Rule 3.05

for Track Two cases. Counsel and any unrepresented party shall meet within sixty days after

service of the complaint upon any defendant for the purpose of preparing and filing a Case

Management Report. The parties shall utilize the attached Case Management Report form.

Unless otherwise ordered by the Court, a party may not seek discovery from any source before

the meeting. Fed. R. Civ. P. 26 (d); Local Rule 3.05(c)(2)(B). Plaintiff is responsible for serving

a copy of this notice and order with attachments upon each party no later than fourteen days after

appearance of the party.
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January 30, 2018

        ROY B. DALTON, JR.                              PAUL G. BYRON
        Roy B. Dalton, Jr. [37]                         Paul G. Byron [40]
      United States District Judge                 United States District Judge

       CARLOS E. MENDOZA
       Carlos E. Mendoza [41]
      United States District Judge

        G. KENDALL SHARP                            PATRICIA C. FAWSETT
        G. Kendall Sharp [18]                        Patricia C. Fawsett [19]
  Senior United States District Judge           Senior United States District Judge

     GREGORY A. PRESNELL                                JOHN ANTOON II
       Gregory A. Presnell [31]                         John Antoon II [28]
  Senior United States District Judge           Senior United States District Judge

         ANNE C. CONWAY
        Anne C. Conway [22]
  Senior United States District Judge

        KARLA R. SPAULDING                            GREGORY J. KELLY
      Karla R. Spaulding [KRS]                       Gregory J. Kelly [GJK]
    United States Magistrate Judge               United States Magistrate Judge

         THOMAS B. SMITH                                DANIEL C. IRICK
        Thomas B. Smith [TBS]                         Daniel C. Irick [DCI]
    United States Magistrate Judge               United States Magistrate Judge

          DAVID A. BAKER
         David A. Baker [DAB]
    United States Magistrate Judge



Attachments: Notice of Pendency of Other Actions [mandatory form]
             Case Management Report [mandatory form]
             Magistrate Judge Consent / Letter to Counsel
             Magistrate Judge Consent Form / Entire Case
             Magistrate Judge Consent / Specified Motions

Copies to:   All Counsel of Record
             All Pro Se Parties
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                        UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

TIM FOOTE,

                       Plaintiff,

v.                                                        Case No: 6:18-cv-73-Orl-40TBS

TRANS UNION LLC and
CONTINENTAL SERVICE GROUP,

                       Defendants.


                       NOTICE OF PENDENCY OF OTHER ACTIONS
         In accordance with Local Rule 1.04(d), I certify that the instant action:

_____      IS          related to pending or closed civil or criminal case(s) previously filed
                       in this Court, or any other Federal or State court, or administrative
                       agency as indicated below:
                       _____________________________________________________
                       _____________________________________________________
                       _____________________________________________________
                       _____________________________________________________

_____ IS NOT           related to any pending or closed civil or criminal case filed with this
                       Court, or any other Federal or State court, or administrative agency.

      I further certify that I will serve a copy of this NOTICE OF PENDENCY OF OTHER
ACTIONS upon each party no later than fourteen days after appearance of the party.

Dated:


_____________________________
Counsel of Record or Pro Se Party
  [Address and Telephone]
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         Case 6:18-cv-00073-PGB-TBS Document 2 Filed 01/30/18 Page 5 of 16 PageID 24
AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                   UNITED STATES DISTRICT COURT
                                                                    for the
                                                        Middle District of Florida

                         TIM FOOTE                                      )
                              Plaintiff                                 )
                         v.                                             )     Civil Action No.        6:18-cv-73-Orl-40TBS
                TRANS UNION LLC, et al.                                 )
                           Defendants                                   )


           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

       Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to
conduct all proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment.
The judgment may then be appealed directly to the United States court of appeals like any other judgment of this
court. A magistrate judge may exercise this authority only if all parties voluntarily consent.

        You may consent to have your case referred to a magistrate judge, or you may withhold your consent
without adverse substantive consequences. The name of any party withholding consent will not be revealed
to any judge who may otherwise be involved with your case.

         Consent to a magistrate judge’s authority. The following parties consent to have a United States
magistrate judge conduct all proceedings in this case including trial, the entry of final judgment, and all post-
trial proceedings.

           Parties’ printed names                              Signatures of parties or attorneys                        Dates




                                                             Reference Order
      IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all
proceedings and order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P.
73.


Date:
                                                                                            District Judge’s signature




                                                                                             Printed name and title


Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a
United States magistrate judge. Do not return this form to a judge.
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AO 85A (Rev. 01/09) Notice, Consent, and Reference of a Dispositive Motion to a Magistrate Judge


                                 UNITED STATES DISTRICT COURT
                                                                  for the
                                                       Middle District of Florida

                       TIM FOOTE                                       )
                           Plaintiff                                   )
                       v.                                              )       Civil Action No. 6:18-cv-73-Orl-40TBS
              TRANS UNION LLC, et al.                                  )
                         Defendants                                    )

    NOTICE, CONSENT, AND REFERENCE OF A DISPOSITIVE MOTION TO A MAGISTRATE JUDGE

       Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available
to conduct all proceedings and enter a final order dispositive of each motion. A magistrate judge may
exercise this authority only if all parties voluntarily consent.

        You may consent to have motions referred to a magistrate judge, or you may withhold your consent
without adverse substantive consequences. The name of any party withholding consent will not be revealed
to any judge who may otherwise be involved with your case.

       Consent to a magistrate judge’s consideration of a dispositive motion. The following parties consent
to have a United States magistrate judge conduct any and all proceedings and enter a final order as to each
motion identified below (identify each motion by document number and title).

               Motions:




         Parties’ printed names                            Signatures of parties or attorneys                                Dates




                                                           Reference Order

      IT IS ORDERED: The motions are referred to a United States magistrate judge to conduct all
proceedings and enter a final order on the motions identified above in accordance with 28 U.S.C. § 636(c).

Date:
                                                                                                   District Judge’s signature


                                                                                                    Printed name and title


Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a
United States magistrate judge. Do not return this form to a judge.
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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION


TIM FOOTE,

                    Plaintiff,

v.                                                    Case No: 6:18-cv-73-Orl-40TBS

TRANS UNION LLC and
CONTINENTAL SERVICE GROUP,

                    Defendants.
                                        /

                                 CASE MANAGEMENT REPORT

      The parties have agreed on the following dates and discovery plan pursuant to

Fed.R.Civ.P. 26(f) and Local Rule 3.05(c):

DEADLINE OR EVENT                                                             AGREED DATE
Mandatory Initial Disclosures (pursuant to Fed.R.Civ.P. 26(a)(1) as
amended effective December 1, 2000) [Court recommends 30 days after
CMR meeting]
Certificate of Interested Persons and Corporate Disclosure Statement
[each party who has not previously filed must file immediately]
Motions to Add Parties or to Amend Pleadings
[Court recommends 1 - 2 months after CMR meeting]
Disclosure of Expert Reports                           Plaintiff:
                                                   Defendant:
[Court recommends last exchange 6 months before trial and 1 - 2 months
before discovery deadline to allow expert depositions]
Discovery Deadline [Court recommends 6 months before trial to allow
time for dispositive motions to be filed and decided; all discovery must be
commenced in time to be completed before this date]
Dispositive Motions, Daubert, and Markman Motions [Court recommends
no less than 5 months before trial]
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DEADLINE OR EVENT                                                              AGREED DATE
Joint Final Pretrial Statement (Including a Single Set of Jointly-Proposed
Jury Instructions, Verdict Form and Voir Dire Questions emailed to
chambers_FLMD_Byron@flmd.uscourts.gov in Word format), Witness
Lists, Exhibit Lists with Objections on Approved Form) Trial Briefs
[Court recommends 4 weeks before Final Pretrial Conference]
All Other Motions Including Motions In Limine [Court recommends 3
weeks before Final Pretrial Conference]
Final Pretrial Conference [Court will set a date that is approximately 3
weeks before trial]
Trial Term Begins [Local Rule 3.05 (c)(2)(E) sets goal of trial within 1
year of filing complaint in most Track Two cases, and within 2 years in all
Track Two cases; trial term must not be less than 4 months after
dispositive motions deadline (unless filing of such motions is waived.
Estimated Length of Trial [trial days]
Jury / Non-Jury
Mediation                                             Deadline:
                                                      Mediator:
                                                      Address:

                                                    Telephone:
[Absent arbitration, mediation is mandatory; Court recommends either 2 -
3 months after CMR meeting, or just after discovery deadline]
All Parties Consent to Proceed Before Magistrate Judge                        Yes____ No____

                                                                              Likely to Agree in
                                                                              Future _____
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I.        Meeting of Parties in Person

          Lead counsel must meet in person and not by telephone absent an order permitting

otherwise. Counsel will meet in the Middle District of Florida, unless counsel agree on a

different location. Pursuant to Local Rule 3.05(c)(2)(B) or (c)(3)(A), 1 a meeting was held

in person on _________________                 (date)   at                                          (time)   at

(place)   and was attended by:

                 Name                                              Counsel for (if applicable)




II.       Pre-Discovery Initial Disclosures of Core Information

          Fed.R.Civ.P. 26(a)(1)(A) - (D) Disclosures

          Fed.R.Civ.P. 26, as amended effective December 1, 2010, provides that these

disclosures are mandatory in Track Two and Track Three cases, except as stipulated by

the parties or otherwise ordered by the Court (the amendment to Rule 26 supersedes

Middle District of Florida Local Rule 3.05, to the extent that Rule 3.05 opts out of the

mandatory discovery requirements):

          The parties __ have exchanged __ agree to exchange                      (check one)    information

described in Fed.R.Civ.P. 26(a)(1)(A) - (D) by                                         (date).

          Below is a description of information disclosed or scheduled for disclosure.



III.      Electronic Discovery

          The parties have discussed issues relating to disclosure or discovery of



           1A copy of the Local Rules may be viewed at http://www.flmd.uscourts.gov.
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electronically stored information ("ESI"), including Pre-Discovery Initial Disclosures of

Core Information in Section II above, and agree that (check one):

        __    no party anticipates the disclosure or discovery of ESI in this case;

        __    one or more of the parties anticipate the disclosure or discovery of ESI in this

case.

        If disclosure or discovery of ESI is sought by any party from another party, then

the following issues shall be discussed: 2

        A. The form or forms in which ESI should be produced.

        B. Nature and extent of the contemplated ESI disclosure and discovery, including

specification of the topics for such discovery and the time period for which discovery will

be sought.

        C. Whether the production of metadata is sought for any type of ESI, and if so,

what types of metadata.

        D. The various sources of ESI within a party's control that should be searched for

ESI, and whether either party has relevant ESI that it contends is not reasonably

accessible under Rule 26(b)(2)(B), and if so, the estimated burden or costs of retrieving

and reviewing that information.

        E.   The characteristics of the party's information systems that may contain

relevant ESI, including, where appropriate, the identity of individuals with special

knowledge of a party's computer systems.

        F.   Any issues relating to preservation of discoverable ESI.

        G. Assertions of privilege or of protection as trial-preparation materials, including


         2   See Generally: Rules Advisory Committee Notes to the 2006 Amendments to Rule 26(f) and Rule 16.
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whether the parties can facilitate discovery by agreeing on procedures and, only in the

unusual event an agreement between the parties is insufficient, an Order under Federal

Rules of Evidence Rule 502, If the parties agree that a protective order is needed, they

shall attach a copy of the proposed order to the Case Management Report, together with

a statement as to why an enforceable agreement between the parties is not sufficient.

The parties should attempt to agree on protocols that minimize the risk of waiver. Any

proposed protective order shall comply with Local Rule 1.09 and Section IV.F. below on

Confidentiality Agreements.

      H. Whether the discovery of ESI should be conducted in phases, limited, or

focused upon particular issues.

      Please state if there are any areas of disagreement on these issues and, if so,

summarize the parties' positions on each:

_____________________________________________________________________

______________________________________________________________________

      If there are disputed issues specified above, or elsewhere in this report, then

(check one):

      ___      one or more of the parties requests that a preliminary pre-trial conference

under Rule 16 be scheduled to discuss these issues and explore possible resolutions.

Although this will be a non-evidentiary hearing, if technical ESI issues are to be

addressed, the parties are encouraged to have their information technology experts with

them at the hearing.

      If a preliminary pre-trial conference is requested, a motion shall also be filed

pursuant to Rule 16(a), Fed.R.Civ.P.
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       ___    all parties agree that a hearing is not needed at this time because they

expect to be able to promptly resolve these disputes without assistance of the Court.

IV.    Agreed Discovery Plan for Plaintiffs and Defendants

       A.     Certificate of Interested Persons and Corporate Disclosure Statement

This Court has previously ordered each party, governmental party, intervenor, non-party

movant, and Rule 69 garnishee to file and serve a Certificate of Interested Persons and

Corporate Disclosure Statement using a mandatory form. No party may seek discovery

from any source before filing and serving a Certificate of Interested Persons and

Corporate Disclosure Statement. A motion, memorandum, response, or other paper C

including emergency motion C is subject to being denied or stricken unless the filing

party has previously filed and served its Certificate of Interested Persons and Corporate

Disclosure Statement. Any party who has not already filed and served the required

certificate is required to do so immediately.

       Every party that has appeared in this action to date has filed and served a

Certificate of Interested Persons and Corporate Disclosure Statement, which remains

current:                    _______ Yes

                            _______ No

Amended Certificate will be filed by ___________ (party) on or before __________

                            date).

       B.     Discovery Not Filed

       The parties shall not file discovery materials with the Clerk except as provided in

Local Rule 3.03. The Court encourages the exchange of discovery requests on diskette.

See Local Rule 3.03 (f). The parties further agree as follows:
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       C.     Limits on Discovery

       Absent leave of Court, the parties may take no more than ten depositions per

side (not per party). Fed.R.Civ.P. 30(a)(2)(A); Fed.R.Civ.P. 31(a)(2)(A); Local Rule

3.02(b). Absent leave of Court, the parties may serve no more than twenty-five

interrogatories, including sub-parts. Fed.R.Civ.P. 33(a); Local Rule 3.03(a). Absent

leave of Court or stipulation of the parties each deposition is limited to one day of seven

hours. Fed.R.Civ.P. 30(d)(2). The parties may agree by stipulation on other limits on

discovery. The Court will consider the parties= agreed dates, deadlines, and other

limits in entering the scheduling order. Fed.R.Civ.P. 29. In addition to the deadlines in

the above table, the parties have agreed to further limit discovery as follows:

              1.     Depositions



              2.     Interrogatories



              3.     Document Requests



              4.     Requests to Admit



              5.     Supplementation of Discovery
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       D.     Discovery Deadline

       Each party shall timely serve discovery requests so that the rules allow for a

response prior to the discovery deadline. The Court may deny as untimely all motions

to compel filed after the discovery deadline. In addition, the parties agree as follows:



       E.     Disclosure of Expert Testimony

       On or before the dates set forth in the above table for the disclosure of expert

reports, the parties agree to fully comply with Fed.R.Civ.P. 26(a)(2) and 26(e). Expert

testimony on direct examination at trial will be limited to the opinions, basis, reasons, data,

and other information disclosed in the written expert report disclosed pursuant to this

order. Failure to disclose such information may result in the exclusion of all or part of the

testimony of the expert witness. The parties agree on the following additional matters

pertaining to the disclosure of expert testimony:



       F.     Confidentiality Agreements

       Whether documents filed in a case may be filed under seal is a separate issue

from whether the parties may agree that produced documents are confidential. The

Court is a public forum, and disfavors motions to file under seal. The Court will permit

the parties to file documents under seal only upon a finding of extraordinary

circumstances and particularized need. See Brown v. Advantage Engineering, Inc., 960

F.2d 1013 (11th Cir. 1992); Wilson v. American Motors Corp., 759 F.2d 1568 (11th Cir.

1985). A party seeking to file a document under seal must file a motion to file under seal

requesting such Court action, together with a memorandum of law in support. The
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motion, whether granted or denied, will remain in the public record.

         The parties may reach their own agreement regarding the designation of materials

as Aconfidential.@      There is no need for the Court to endorse the confidentiality

agreement.       The Court discourages unnecessary stipulated motions for a protective

order.        The Court will enforce appropriate stipulated and signed confidentiality

agreements.        See Local Rule 4.15.     Each confidentiality agreement or order shall

provide, or shall be deemed to provide, that Ano party shall file a document under seal

without first having obtained an order granting leave to file under seal on a showing of

particularized need.@ With respect to confidentiality agreements, the parties agree as

follows:

         G.      Other Matters Regarding Discovery C



VI.      Settlement and Alternative Dispute Resolution.

         A.      Settlement C

                 The parties agree that settlement is _____     likely ______ unlikely

                        (check one)

                 The parties request a settlement conference before a United States

Magistrate Judge.              yes             no           likely to request in future

         B.      Arbitration

                 The Local Rules no longer designate cases for automatic arbitration, but the

parties may elect arbitration in any case. Do the parties agree to arbitrate?

                     yes                  no                     likely to agree in future

         _______ Binding                            ________     Non-Binding
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       C.     Mediation

              Absent arbitration or a Court order to the contrary, the parties in every case

will participate in Court-annexed mediation as detailed in Chapter Nine of the Court=s

Local Rules. The parties have agreed on a mediator from the Court=s approved list of

mediators as set forth in the table above, and have agreed to the date stated in the table

above as the last date for mediation. The list of mediators is available from the Clerk,

and is posted on the Court=s web site at http://www.flmd.uscourts.gov.

       D.     Other Alternative Dispute Resolution C

       The parties intend to pursue the following other methods of alternative dispute

resolution:


Date: _____________________

Signature of Counsel (with information required by Local Rule 1.05(d)) and Signature of
Unrepresented Parties.


_________________________________               _________________________________

_________________________________               _________________________________

_________________________________               _________________________________

_________________________________               _________________________________
